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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

    In Re: FTX CRYPTOCURRENCY
    EXCHANGE COLLAPSE LITIGATION

                                                            Case No. 1:23-md-03076-KMM

                                                            MDL No. 3076

                                                            NOTICE OF APPEARANCE




            PLEASE TAKE NOTICE that that the undersigned attorney hereby appears as counsel for

   Defendant Sino Global Capital Holdings, LLC in the above-captioned action and respectfully

   demands that all electronically filed documents in this action be transmitted by e-mail to the

   address below.



   Dated:    Sept. 22, 2023
             New York, New York
                                              MORRISON COHEN LLP

                                               /s/ Vani Upadhyaya
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                                              Holdings, LLC
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                                      CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on September 22, 2023, I electronically filed the foregoing

   with the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic

   filing to all counsel of record.



                                                                            /s/ Vani Upadhyaya
                                                                                Vani Upadhyaya
